Case: 4:18-cr-00975-CDP Doc. #: 326 Filed: 03/02/21 Page: 1 of 1 PageID #: 1417




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
             Plaintiff,                  )
                                         )
      v.                                 )       Case No. 4:18 CR 975 CDP
                                         )
DUSTIN BOONE,                            )
CHRISTOPHER MYERS, and                   )
STEVEN KORTE,                            )
                                         )
             Defendants.                 )

                                      ORDER

           IT IS HEREBY ORDERED that an additional pretrial hearing will be

held on Thursday, March 11, 2021 at 11:00 a.m. in Courtroom 3-North. This

is an in-person hearing.

           IT IS FURTHER ORDERED that no later than Tuesday, March 9,

2021, the parties shall file any revised or additional proposed jury instructions, and

shall email a word version to the judicial assistant of the undersigned.




                                       ______________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE

Dated this 2nd day of March, 2021.
